      Case 2:13-cr-00096-RHW            ECF No. 786         filed 09/23/14     PageID.3005 Page 1 of 2
PROB 12C                                                                          Report Date: September 23, 2014
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Anthony R. Gallo                         Case Number: 2:13CR00096-RHW-12
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: January 30, 2014
 Original Offense:        Bank Fraud, 18 U.S.C. § 1344
 Original Sentence:       Prison - 15 months                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Sean Thomas McLaughlin            Date Supervision Commenced: July 7, 2014
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: July 6, 2017

                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on 08/27/2014.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           3            Special Condition # 23: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.

                        Supporting Evidence: Anthony Gallo violated the conditions of his supervised release in
                        Spokane, Washington, on August 28, 2014, by failing to submit a urine sample for testing
                        as directed.

It is respectfully recommended that the Court incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 08/27/2014.
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September 23, 2014
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     09/23/2014
                                                                        s/Tommy Rosser
                                                                        Tommy Rosser
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer

                                                                           September 23, 2014
                                                                        Date
